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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

ARICKA L. ROYALTY,                                                                         Plaintiff,

v.                                                              Civil Action No. 3:17-cv-196-DJH

EQUIFAX INFORMATION SERVICES, LLC
and TRANS UNION, LLC,                                                                   Defendants.

                                            * * * * *

                                             ORDER

          Plaintiff Aricka L. Royalty having filed a notice of voluntary dismissal with prejudice

(Docket No. 8), no answer or motion for summary judgment having been filed by Defendant

Equifax Information Services, LLC and the Court being otherwise sufficiently advised, it is

hereby

          ORDERED that Plaintiff’s claims against Defendant Equifax Information Services, LLC

stand DISMISSED with prejudice and are STRICKEN from the Court’s active docket. This

order does not, and is not intended to, affect Plaintiff’s claims against the remaining defendant.
July 13, 2017




                                                              David J. Hale, Judge
                                                           United States District Court




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